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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CARL KLEIN and APRIL RAGLAND,                            )
individually and on behalf of all others similarly       )
situated,                                                )
                                                         )
         Plaintiffs,                                     )    Civil Action File No.
vs.                                                      )    1:17-cv-06194
                                                         )
CREDIT CORP SOLUTIONS, INC.,                             )
                                                         )
         Defendant.                                      )
                                                         )

                DEFENDANT’S MOTION FOR SANCTIONS PURSUANT TO
                  FEDERAL RULE OF CIVIL PROCEDURE 37(d)(1)(A)(i)

         Now comes Defendant Credit Corp Solutions, Inc. (“CCS”), by counsel, and moves for

sanctions pursuant to Federal Rule of Civil Procedure 37(d)(1)(A)(i) against Plaintiffs, CARL

KLEIN and APRIL RAGLAND, and in support of which states as follows

  I.     STANDARD OF LAW

      Rule 37(d) authorizes a district court to sanction a party for failing to appear for a properly

noticed deposition or failing to answer questions during a properly noticed deposition. Prude v.

Clarke, 2016 U.S. Dist. LEXIS 19131, 2016 WL 633366, * 6 (E.D. Wis. Feb. 17, 2016). “Factors

relevant to the decision to dismiss include the plaintiff's pattern of and personal responsibility for

violating orders, the prejudice to others from that noncompliance, the possible efficacy of lesser

sanctions, and any demonstrated merit to the suit. With those factors in mind, a court may dismiss

a suit after the plaintiff has willfully refused to comply with discovery orders and the plaintiff has

been warned that noncompliance may lead to dismissal.” Pendell v. City of Peoria, 799 F.3d 916,

917 (7th Cir. 2015)(internal citations omitted).

 II.     BACKGROUND

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    On January 8, 2018 this Court entered a scheduling order setting all non-expert discovery to

close by June 8, 2018. See, Docket Entry (“D.E.”) 19. On June 8th Plaintiff moved for an extension

of discovery, which was granted. D.E. 26-27. Then, on July 24th at Plaintiff’s request, the discovery

cut-off was extended to August 27, 2018. D.E. 28. Plaintiff again moved the Court for an extension

on August 23, 2018, which was granted and extended until September 10, 2018. D.E. 31.

    Throughout Plaintiff’s receipt for continuances, Defendant attempted to procure Plaintiffs

depositions. On July 26, 2018, Defense Counsel inquired as to Plaintiffs’ availability for

depositions. On August 2, 2018, Plaintiffs’ Counsel and Defense Counsel held a call during which

Defense Counsel again requested available deposition dates. Defense Counsel followed up via

email to Plaintiff’s Counsel on August 15, 2018 attempting to schedule Plaintiffs’ depositions.

Plaintiffs’ Counsel did not respond until August 23, 2018, agreeing to make Plaintiffs available on

September 4th or 5th for their depositions. See, Email from Chatman to Strickler, Exhibit A.

    The next day, on August 29th, via regular mail and email, Defendant sent notices of deposition

scheduling Plaintiffs’ depositions for September 5th, 2018. See, Group Exhibit B, Email and

Notices of Depositions. Defendant’s counsel followed up on September 4th, 2018 to confirm

Plaintiff’s appearance pursuant to the served notices. See, Group Exhibit C. Email from Strickler

to Chatman. Plaintiff’s counsel responded later that day stating that her clients were no longer

available to be deposed on the 5th. Id. When questioned as to why, counsel refused to provide a

reason only stating that she would file a motion for a protective order. Id. Counsel for Defendant

clarified that she was not refusing to reschedule but merely wanted an explanation in light of the

late notice and approaching discovery deadline. Id. Nonetheless, she re-noticed the depositions for

September 7th to accommodate Plaintiffs. Id. On September 6th, counsel for Defendant received

another email from Plaintiff’s counsel explaining that Plaintiff Klein could no longer be deposed



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on the 7th due to a “family emergency.” Id. Defense counsel responded that she would move

forward with Plaintiff Ragland’s deposition nonetheless on the 7th. Id.

    On the 7th, unsurprisingly at this point, Defense Counsel received a call from Plaintiffs’

Counsel asking to delay the deposition an additional hour, to which Defense Counsel agreed.

Shortly thereafter, Counsel for Defendant and Plaintiffs spoke, and Plaintiff’s Counsel informed

Defendant that Plaintiff Ragland would not appear due to transportation issues. Counsel for

Defendant inquired as to whether Ragland could appear on today, September 10th, but was

informed that there was no guarantee. This motion followed despite Counsels’ good-faith

conference in an effort to resolve the dispute.

III.     LEGAL ANALYSIS

         I.      Litigants Are Not Permitted to Ignore Deposition Notices.

         “A lawyer has no authority unilaterally to cancel a deposition that is reasonably noticed in

writing pursuant to Fed. R. Civ. P. 30(b)(1), which is a step only the court is empowered to take.”

Richardson v. BNSF Ry. Co., No. 13-5415, 2014 U.S. Dist. LEXIS 147985, at *3 (E.D. La. Oct.

16, 2014). The proper course of action for those unable to appear as noticed is to file a motion to

quash the notice or for a protective order under Rule 26(c) or a motion for a discovery sequencing

order under Rule 26d(2), “not simply to defy the notice and fail to appear.” Id. Here, Defendant

properly noticed Plaintiffs’ depositions on a date that was agreed to by their counsel. Said notices

were served via email and regular mail. Neither Plaintiff moved for a court order excusing their

attendance at the scheduled depositions. Instead, they merely failed to appear despite multiple

attempts by Defense counsel to accommodate Plaintiffs. Plaintiffs cannot be said to be proper class

representatives when they cannot even be bothered to attend their own depositions. Accordingly,




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Defendant respectfully requests that Plaintiffs’ action be dismissed, with prejudice, and that

Defendants be granted leave to petition the Court for the fees and expenses incurred in this matter.

       WHEREFORE, CCS respectfully requests this Honorable Court find that Plaintiffs dismiss

Plaintiffs’ entire Complaint with prejudice, and award CCS its reasonable fees and expenses

incurred throughout this lawsuit, and for any additional relief deemed just and proper.

               Respectfully submitted this 10th day of September 2018

                                                     By: /s/ Nicole M. Strickler
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of September 2018, a true and accurate copy of the

foregoing was filed with the Clerk of Court using the ECF system which will send notification of

such filing to the attorneys of record.

                                                   /s/ Nicole M. Strickler
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